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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


COMMONWEALTH OF PENNSYLVANIA, et al.,

                               Plaintiffs,

                       v.
                                                             No. 20-cv-1719 (FYP)
MIGUEL CARDONA, in his official capacity as
Secretary of Education, et al.,

                               Defendants.


                                   JOINT STATUS REPORT

        On October 27, 2021, this Court held a status conference in the above-captioned matter.

The parties informed the Court during that conference that they had recently begun settlement

discussions, and asked that the Court hold the pending motion to dismiss, ECF No. 27, in

abeyance to allow those discussions to proceed. Since the status conference, the parties have

been further engaged in settlement discussions and provide this report to apprise the Court of the

current status.

        The parties believe discussions so far have been productive, but have not yet reached a

final agreement. Accordingly, the parties respectfully request that the Court continue to hold the

pending motion to dismiss in abeyance and set December 8, 2021, as the deadline for the

submission of a joint status report.



November 10, 2021                             Respectfully submitted,

BRIAN M. BOYNTON                                Michael J. Fischer
Acting Assistant Attorney General               Chief Counsel and Executive Deputy Attorney
                                                General
MARCIA BERMAN
Assistant Director, Federal Programs Branch     Jesse F. Harvey
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                                             Chief Deputy Attorney General
/s/ Kathryn L. Wyer
KATHRYN L. WYER                              /s/ Jacob B. Boyer
Federal Programs Branch                      Jacob B. Boyer
U.S. Department of Justice, Civil Division   Kevin R. Green
1100 L Street, N.W., Room 12014              Francesca Iovino
Washington, DC 20005                         Deputy Attorneys General
Tel. (202) 616-8475                          Office of the Pennsylvania Attorney General
kathryn.wyer@usdoj.gov                       1600 Arch Street, Suite 300
                                             Philadelphia, PA 19103
Attorneys for Defendants                     (267) 768-3968
                                             jboyer@attorneygeneral.gov

                                             Attorneys for Plaintiffs




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